Case 3:15-cv-01581-BEN-KSC Document 4 Filed 08/26/15 PageID.60 Page 1 of 4




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 11
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 12
                             UNITED STATES DISTRICT COURT
 13
                        FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 14
 15 SHIVA Y. STEIN, Derivatively on             Case No. 3:15-cv-01581-AJB-RBB
    Behalf of Nominal Defendant EDISON,
 16
    INC.,
 17                   Plaintiff,
          v.                                    NOTICE OF RELATED ACTION
 18
 19 THEODORE F. CRAVER, JR.,
    JAGJEET S. BINDRA, VANESSA C.
 20
    L. CHANG, RICHARD
 21 SCHLOSBERG, III, LINDA G.
    STUNTZ, ELLEN O. TAUSCHER,
 22
    PETER J. TAYLOR, and BRETT
 23 WHITE,
                   Defendants,
 24
 25            and
 26
      EDISON INTERNATIONAL,
 27
 28
                           Nominal Defendant.

      314589.1 EDISON              NOTICE OF RELATED ACTION
Case 3:15-cv-01581-BEN-KSC Document 4 Filed 08/26/15 PageID.61 Page 2 of 4




  1            TO THE CLERK OF THE COURT AND ALL PARTIES OF RECORD:

  2            PLEASE TAKE NOTICE THAT pursuant to Local Rule 40.1(f) and (g) of
  3
      the Local Rules of Civil Procedure for the Southern District of California, the
  4
  5 above-captioned action, Stein v. Craver, et al., is related to the following action
  6 pending in this District:
  7
               Eng v. Edison International, et al., Case No. 3:15-cv-01478-BEN-JMA.
  8
  9            The foregoing actions (i) arise from the same or closely related transactions,

 10 happenings or events; (ii) call for the determination of the same or substantially
 11
      related or similar questions of law and fact; and (iii) would entail substantial
 12
 13 duplication of labor if heard by different judges.
 14
 15 Dated: August 26, 2015                     GLANCY PRONGAY & MURRAY LLP
 16
 17                                            By: s/ Louis N. Boyarsky
 18                                            LOUIS N. BOYARSKY
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 27
 28                                            Attorneys for Plaintiff
                                                  1
      314589.1 EDISON                 NOTICE OF RELATED ACTION
 Case 3:15-cv-01581-BEN-KSC Document 4 Filed 08/26/15 PageID.62 Page 3 of 4




 1      PROOF OF SERVICE VIA ELECTRONIC POSTING PURSUANT TO
           SOUTHERN DISTRICT OF CALIFORNIA LOCAL RULES
 2
 3            I, the undersigned, say:
 4
           I am a citizen of the United States and am employed in the office of a
 5   member of the Bar of this Court. I am over the age of 18 and not a party to the
 6
     within action. My business address is 1925 Century Park East, Suite 2100, Los
     Angeles, California 90067.
 7
 8            On August 26, 2015, I caused to be served the following document:
 9
                       NOTICE OF RELATED ACTION
10
            By posting the document to the ECF Website of the United States District
11
     Court for the Southern District of California, for receipt electronically by the
12   parties as listed on the attached Service List.
13
          I certify under penalty of perjury under the laws of the United States of
14   America that the foregoing is true and correct. Executed on August 26, 2015, at
15   Los Angeles, California.
16
17                                                 s/ Louis N. Boyarsky
18                                                 Louis N. Boyarsky

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     311975.1 EDISON
CM/ECF - casd-                                                    https://ecf.casd.uscourts.gov/cgi-bin/MailList.pl?406435906041449-L_1_0-1
                 Case 3:15-cv-01581-BEN-KSC Document 4 Filed 08/26/15 PageID.63 Page 4 of 4




         Electronic Mail Notice List

         The following are those who are currently on the list to receive e-mail notices for this case.

               Louis N. Boyarsky
               lboyarsky@glancylaw.com,info@glancylaw.com

         Manual Notice List

         The following is the list of attorneys who are not on the list to receive e-mail notices for this case (who
         therefore require manual noticing). You may wish to use your mouse to select and copy this list into your word
         processing program in order to create notices or labels for these recipients.

          (No manual recipients)




1 of 2                                                                                                                  8/26/2015 2:07 PM
